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   United States of America
 7
 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                         CASE NO. 2:13-CR-00286 MCE
11
                                  Plaintiff,           APPLICATION AND ORDER FOR
12                                                     DESTRUCTION OF MARIJUANA
                           v.
13
     ANTONIO VILLEGAS, et al.,
14
                                 Defendants.
15
16
17          The United States hereby moves for an order permitting the United States Forest Service and any

18 other law enforcement agency to destroy the marijuana seized as part of the investigation and
19 prosecution in the above-referenced case. The last of the defendants in this matter was sentenced on
20 January 29, 2015, with judgment entered on the docket on January 30, 2015. No appeals have been filed
21 and the time to do so has now expired. Accordingly, there is no longer any law enforcement need to
22 preserve the marijuana seized and kept as evidence with respect to this matter.
23          Respectfully submitted,

24 Dated: February 13, 2015                                 BENJAMIN B. WAGNER
                                                            United States Attorney
25
                                                    By: /s/ Todd A. Pickles
26                                                      TODD A. PICKLES
                                                        Assistant United States Attorney
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28


      APPLICATION AND ORDER FOR DESTRUCTION OF          1
      MARIJUANA
                Case 2:13-cr-00286-MCE Document 86 Filed 02/19/15 Page 2 of 2


 1                                                    ORDER

 2            Having read and considered the papers filed, and good cause appearing:

 3            IT IS HEREBY ORDERED that the United States Forest Service and any other law enforcement

 4 agency involved in the investigation of this matter are authorized to destroy, forthwith, any marijuana
 5 seized during the investigation and prosecution.
 6            IT IS SO ORDERED.

 7 Dated: February 18, 2015
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         APPLICATION AND ORDER FOR DESTRUCTION OF        2
         MARIJUANA
